                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In the matter of:

Lenny Rocco Tosto,                                                 Case No. 09-77053-MBM
                                                                   Chapter 7
                                 Debtor. /                         Hon. Marci B. McIvor
Paul Arslanian,

                        Plaintiff,
vs.                                                                Adv. Pro. No. 10-4902

Lenny Rocco Tosto,

                             Defendant. /


       OPINION DENYING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        This matter comes before the Court on Plaintiff’s Motion for Summary Judgment.

Plaintiff asserts that he lost a significant amount of money as a result of misrepresentations

made by Defendant. He seeks a judgment for his losses and asserts that the judgment

should be nondischargeable pursuant to 11 U.S.C. § 523(a)(2), (4) and (6). For the

reasons set forth below, Plaintiff’s Motion for Summary Judgment is denied.

                                                      I.

                                       STATEMENT OF FACTS1

        Plaintiff, Paul Arslanian (“Plaintiff”), is an attorney and certified public accountant.

His practice is located in Bloomfield Hills, Michigan.

        Defendant, Lenny Rocco Tosto (“Defendant”) is a licensed real estate broker

employed by Colliers International. Colliers International is an international commercial



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       The references to exhibits refer to the Exhibits attached to Plaintiff’s Motion for Summary
Judgment (Docket No. 42) and Defendant’s Response to Plaintiff’s Motion (Docket No. 54).



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real estate broker and investment firm. In addition to his employment at Colliers,

Defendant owned companies which buy and sell properties in Michigan, for investment

purposes. Those companies have included LRT Investment Properties, LLC (“LRT”)

and SBT Properties LLC (“SBT”) (Tosto dep, Exhibit 6A at 54, 55, 56 - 57, 66 - 67).

SBT ceased operations several years ago; LRT was still operating at all times relevant

to this Complaint. (Tosto dep., Exhibit 6A at 125, 126, 160; Beer dep., Exhibit 6B at 21

and 22.) Many of Defendant’s real estate transactions included deals with parties

tangentially involved in this litigation, specifically, Thomas Beer and Allen Stalter.

(Tosto dep., .Exhibit 5; Defendant’s Exhibit 6A, at 103 and Stalter dep, Exhibit 6B.)

        On September 9, 2002, Thomas Beer and Allen Stalter organized Laker Group

LLC. The Laker Group was formed to buy and sell properties for investment purposes.

The Laker Group sought to make money for its principals and parties that invested in

the properties purchased by the Laker Group. (Stalter dep., Exhibit B at 12, 32 and

157.)

        In January 2005, Defendant and his father Leo Tosto formed T & T Investment

Properties, LLC (“T&T”). Defendant and Leo originally each owned a fifty (50%) percent

interest in T&T. The purpose of T&T was to lend money for the purpose of buying and

rehabilitating properties, and then selling the properties for a profit. (Tosto dep., Exhibit

6A at. 58-59, 61-62.)

        In October 2005, Thomas Beer and Allen Stalter formed One Nation Financial

(“One Nation”) in which they each held a fifty (50%) percent interest. One Nation was a

mortgage broker. (Stalter dep., Exhibit 6B at 38). One Nation existed, in part, to

finance mortgages for purchasers of properties owned by the Laker Group.

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       Between 2005 and 2007, T&T worked with the Laker Group and One Nation.

T&T provided money to the Laker Group for the purchase of properties and to One

Nation to fund mortgage loans. These transactions were profitable for both Defendant

and T&T. Tosto Affidavit, Exhibit 5; Tosto dep., Exhibit A at 50, 51.)

       In 2007, Plaintiff sought the services of Defendant, in his capacity as a

commercial real estate broker, to locate an office building for Plaintiff’s law firm.

Although Defendant did not locate a building, Plaintiff and Defendant discussed possible

investment opportunities. Defendant told Plaintiff about T&T, the real estate investment

business which Defendant owned with his father. Defendant also explained in a broad

sense how T&AT made money through investing in real estate deals. (Arslanian dep.,

Exhibit 6E at 64-67.)

       In July 2007, Plaintiff invested money with Defendant and T&T for purposes of

purchasing and then rapidly reselling a property referred to by both parties as “the

Brewster Property.” The Property was bought and sold again within 18 days. Plaintiff

earned 40% interest on his 18 day investment. (Defendant’s Exhibit G.)

       Plaintiff proceeded to participate in four other investments with T&T and/or

Defendant. In three of the investments (1) Defendant and T&T advised Plaintiff of the

investment opportunity; (2) Defendant and T&T both invested in the opportunity

(approximately 50 - 50); and (3) Defendant and/or T&T entered into the investments for

the purpose of making a profit for both Plaintiff and Defendant. (Tosto Affidavit,

Defendant’s Exhibit 5; Tosto dep., Defendant’s Exhibit 6A at 92-93, 98, 100-101, 125-

127.) Each of the investments is detailed below.



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                                    INVESTMENT I

      Investment I was a “hard money loan” deal. The hard money loan deals worked

as follows: (1) the Laker Group found properties and borrowers to purchase the

properties. The borrowers/purchasers financed the purchase of the properties and any

repair work through One Nation. In exchange for the financing to purchase and repair a

home, the borrower/purchaser granted One Nation a mortgage on the home. In

addition the borrower paid One Nation monthly interest. The expectation was that the

borrower/purchaser would sell or refinance the property shortly after the purchase. If

the borrower/purchaser was unable to sell or refinance the property within a certain

time, the borrower could obtain an extension and pay a fee which ranged from $500.00

to $1,000.00. (Tosto dep., Defendant’s Exhibit 6A at 59-60.)

      One Nation obtained the funds it loaned to borrowers from “hard money loans”

made to One Nation by investors. T&T was one such investor. When the Laker Group

found a purchaser for a property, One Nation, would advise T&T of the loan necessary

to fund the purchase and repair work. T&T received 15% interest on the use of its

money until the property sold, and four points (4% of the loan amount). (Stalter dep.,

Defendant’s Exhibit 6B at 94, 158; Arslanian dep., Defendant’s Exhibit 6E at 140-141).

Once the property sold, T&T was repaid the entire amount of its initial investment.

      On April 20, 2007, Allen Stalter from One Nation corresponded with Defendant

(by email) to discuss the hard money process. (Defendant’s Exhibit 6H.) In the email,

Allen Stalter represented that One Nation would loan the borrower a maximum of 70%

of the appraised value, that the appraised value was to be on an “after repair basis” and

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that T&T would be protected by an assignment of the mortgage given by the borrower to

One Nation. (Defendant’s Exhibit 6H; Stalter dep., Defendant’s Exhibit 6B at. 40, 77

and 97.) Plaintiff expressed an interest to Defendant in getting involved in the hard

money loans. On June 20, 2007, Defendant forwarded Allen Stalter’s email to Plaintiff.

(Defendant’s Exhibit 6H.) In June 2007, Defendant, Thomas Beer, Allen Stalter, and

Plaintiff met at Plaintiff’s law office to discuss the hard money loan investments. (Stalter

dep., Defendant’s Exhibit 6B at 73-75; Arslanian dep., Defendant’s Exhibit 6E at 102-

103.) Both Plaintiff and Defendant (through T&T) decided to invest in Investment 1,

Plaintiff and Defendant agreed that Plaintiff and T&T would make a like investment and

each would be paid points and interest on the individual loans. (Tosto dep.,

Defendant’s 6H; Arslanian dep., Defendant’s Exhibit 6E at 138-139). Both Plaintiff and

Defendant expected that T&T and Plaintiff would profit on Investment I, based on the

15% interest, the payment of 4 points at the time the hard loan money was advanced,

and the representation that the principal would be repaid when the borrower either sold

of re-financed the property. (Tosto Affidavit, Defendant’s Exhibit 5; Tosto dep.,

Defendant’s Exhibit 6A at 117-118; Arslanian dep. Defendant’s Exhibit 6E at 112.)

       Starting in July, 2007, One Nation contacted T&T and Defendant and advised

Defendant as to the amount of investment money needed in order to fund each hard

money loan. (Stalter dep., Defendant’s Exhibit 6B at 56.) Defendant would present the

investment opportunity to Plaintiff with no obligation for Plaintiff to participate and with

the option of passing on the opportunity. (Arslanian dep., Defendant’s Exhibit 6E at

135-136, 148-149, 153-154, 154-165, 167.) If Plaintiff decided to participate, Defendant

would tell Plaintiff the amount needed and instruct him to make the checks payable to

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the title company conducting the closing on the property. Plaintiff would write checks to

the title company which were picked up by Defendant or One Nation and taken to the

closing. (Arslanian dep., Defendant’s Exhibit 6E at 136; and Defendant’s Exhibit 6 I.)

       Between July 9, 2007 and August 23, 2007, Plaintiff invested $645,539.28 in

Investment I properties. (This amount appears to include the Brewster Property.)

Plaintiff received fifteen (15%) percent interest on most of the properties bought with

Investment I money. The fifteen (15%) percent interest was paid on monthly basis.

Plaintiff also received a payment of 4 points (4% percent) on the initial loan amount. As

the properties were sold, Plaintiff received his principal investment back. (Arslanian

dep., Defendant’s Exhibit 6E at 150, 152; Plaintiff’s Exhibit 6, Part 8, Exhibit 6Q.) T&T

invested approximately the same amount in hard money loans as Plaintiff. (Tosto

Affidavit; Defendant’s Exhibit 5.) Between July 9, 2007 and September, 2008, Plaintiff

received interest, points and some principal payoffs. By September, 2008, Plaintiff had

received a total of $391,539.28, including the repayment of principal, interest and points

on some of the properties. (Plaintiff’s Exhibit 6, Part 8, Exhibit 6Q.) Defendant received

approximately the same return on the hard money loans. (Tosto Affidavit, Defendant’s

Exhibit 5.)

       In 2008, the real estate market crashed nation wide. (Stalter dep., Defendant’s

Exhibit B at 99.) In 2008, One Nation stopped making interest payments on the hard

money loans. Some properties which were part of Investment I were never sold and the

principal amount invested was not repaid to either Plaintiff or Defendant. Both Plaintiff

and Defendant lost money when One Nation stopped making payments on the hard

money loans. (Tosto dep., Defendant’s Exhibit 5, ¶ 15.) Plaintiff lost $254,000.00.

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(Plaintiff’s Exhibit 6, Part 8, Exhibit Q.)

                                        INVESTMENT II

       In September, 2007, Defendant advised Plaintiff of another real estate

investment deal. The Laker Group located 18 properties being sold by a bank as a bulk

purchase. The Laker Group’s proposal was that T&T would fund the purchase price for

the properties and when the Laker Group sold the properties, the Laker Group would

split the profits evenly with the T&T. Defendant proposed to Plaintiff that Plaintiff and

T&T split the cost of purchasing the foreclosed property and split T&T’s share of the

profits. (Tosto dep., Defendant’s Exhibit 6A at 196, 197.)

       The Laker Group never represented that interest would be paid on the money

invested with the Laker Group for purchasing the property. (Stalter dep., Defendant’s

Exhibit 6B at 144-145, 171-173.) On September 26, 2007, Thomas Beer from The

Laker Group sent Defendant an email stating:

               Just so we are on the same page with the bulk sale: 50 / 50
               split on profits

               We never came to a conclusion on selling costs / holding
               costs. We had talked about 8% on the $, 10% to cover our
               overhead and selling costs. Might be easier to expense all
               selling fees and split 50 / 50. Let me know what you think.

(Defendant’s Exhibit 6Q.)

       On or about September 28, 2007, Plaintiff and T&T each invested approximately

$133,000.00 in the bulk sale purchase. The Laker Group made the purchase of the

properties and subsequently marketed the properties. A few of the properties sold

quickly. For example, a property located at 23151 Beech, sold at the end of December,

2007. That sale was profitable and the Laker Group and T&T split the profits. Fifty

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(50%) percent of the T&T profit was paid to Plaintiff. Defendant emailed Plaintiff on

October 12, 2007 stating:

              Paul:
              This will fund your account probably on Monday. It is the
              principal balance due you on the bulk purchase we did a
              couple of weeks ago. We will get check for proceeds early
              next week. Profit looks to be somewhere around $17,000.
              Laker Group take is 50% = $8,500. You and [I] each take
              $4,250.00

(Defendant’s Exhibit 6, Part 1, Exhibit 6R.)

       Another property which sold quickly was a property located at 23351 Lexington.

That property was sold in October, 2007 to Anthony Larock. Mr. Larock did contracting

work for the Laker Group. Mr. Larock purchased the property for $55,000.00 which

generated a profit for the Laker Group and T&T. Fifty (50%) percent of T&T’s profits

($3,073.60) were paid to Plaintiff. Mr. Larock subsequently obtained a “hard money

loan” from One Nation to repair the property and pay off the amount used by Mr. Larock

to purchase the property. The funding for the hard money loan came from T&T

($80,000.00). The Lexington property was not a property for which Plaintiff had agreed

to fund a “hard money loan”; Plaintiff’s investment in the property was limited to his

investment in the original bulk purchase (Plaintiff’s Exhibit 16, Part 8, Exhibit 6Q.)

Because T&T provided the funding for the “hard money loan”, T&T received four (4%)

percent of the loaned amount and interest from the date the money was loaned until the

date Mr. Larock sold the property. Mr. Larock subsequently sold the property for

$125,000.00. From the $125,000.00 sale proceeds, T&T recovered its initial investment

of $80,000.00. Plaintiff was not paid any money on the final sale of the Lexington

property because Plaintiff had never invested funds in the “hard money loan” made by

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T&T to One Nation.

       As noted above, in 2008, there was a crash in the real estate market. Several of

the homes in the bulk sale investment were sold at a loss and six of the properties were

never sold. From the houses that were sold, Plaintiff received a $109,731.22 on his

investment and a profit of $7,443.83 on the houses that were sold. Since Plaintiff had

invested $133,138.54, Plaintiff lost $15,963.49 on his original investment. T&T lost a

similar amount of money. (Tosto Affidavit, Defendant’s Exhibit 5; Plaintiff’s Exhibit 6,

Part 8, Exhibit 6Q at.2.).

                                      INVESTMENT III

       On July 25, 2008, Defendant, by email, proposed another investment

opportunity to Plaintiff:

               Paul:
               I am doing 2 senior deals first of the week. These are non
               Laker Group deals. Already have the 2 buyers/tenants for
               the properties. Each senior is 67 years old. Renovation
               should take 3 weeks and deal should close out within 60
               total days from acquisition. Investment (including the
               renovations) is $180,000. Deal structure has me profiting
               annualized return of 60% or 5% per month. Thus,
               partner/contractor (Craig Covert) is motivated to get things
               done in timely manner. When deal closes out in 60 days, my
               take is $16,000. If deal takes 90 days (which it should not
               because buyer is in hand and has already signed paperwork)
               then my take is $24,000. If deal gets done in 30 days, my
               take is $8,000. You get the picture. Would you like 50% of
               these two deals?

(Plaintiff’s Exhibit 6, Part 10, Exhibit 6FF.)

Later that day Plaintiff wired $80,000.00 to LRT Investment Properties, a company

owned by Defendant. (Defendant’s Exhibit 6U). Subsequently the money was

transferred to Craig Covert for the purpose of purchasing two pieces of property. In

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addition to the $80,000.00 provided by Plaintiff, Defendant contributed $60,432.81 and

Mr. Covert contributed $3,502.81 to the investment. (Plaintiff’s Exhibit 6, Part 10,

Exhibit 6HH.) Mr Covert used the funds to purchase two pieces of property referred to

as the Santa Barbara property and the Wildmere property.

       The Santa Barbara property sold in February of 2009, for $75,774.62. Mr. Covert

allocated $59,251.88 of the sale proceeds to “costs” and $16,522.74 to “profit.” Plaintiff

was paid fifty-seven (57%) percent of the costs ($31,776.97) and thirty-three and one-

third (33 1/3%) percent of the profit ($5,507.58) for a total payment of $37,284.55.

Defendant was paid forty-three (43%) percent of the “costs” ($23,972.10) and thirty-

three and one-third (33 1/3%) percent of the “profit” ($5,507.58) for a total of

$29,479.68. Mr. Covert paid himself one hundred (100%) percent of his principal

investment ($3,502.81) and thirty-three and one-third (33 1/3%) percent of the “profit”

($5,507.58) for a total of $9,010.39. (Plaintiff’s Exhibit 6, Part 10, Exhibit 6HH.)

       The Wildmere property was never sold. Plaintiff lost $42,715.45 on his original

investment in Investment III. (Plaintiff’s Exhibit 6, Part 7 Exhibit 6Q.)

                                     INVESTMENT IV

       In the spring of 2008 (sometime between March and May) Thomas Beer, from

the Laker Group, presented an investment opportunity to Defendant. Thomas Beer and

the Defendant had been involved in real estate deals together since 2000. Thomas

Beer represented this new deal as an investment in an “oil bond.” The “oil bond” was

purported to generate a twenty (20) to sixty-five (65) percent return on the investment.

(Beer dep., Defendant’s Exhibit 6N at 96, 97.) Starting in April, 2008, Defendant,

through T&T, invested $170,000.00 in this investment. (Tosto dep., Defendant’s Exhibit

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6A at. 138-140.) Fifty thousand ($50,000.00) dollars of the T&T investment was at

some point, by agreement of Thomas Beer and Defendant, rolled into another

investment. (Tosto dep., Defendant’s Exhibit 6A at 147.)

        In fact, there was no “oil bond.” Thomas Beer was investing his own money and

T&T’s money in a fund “managed” by Mike Winans. Although there were no documents

to substantiate the existence of an “oil bond,” Thomas Beer sent Defendant the

following email on May 7, 2008:

               I have 200k of family money in at 60 percent. Putting in
               another 180. Deal is solid and been paying out every three
               3 months. Literally zero risk.

        On that same date, Thomas Beer sent Defendant another email stating:

               How much do you want to put into the oil bond? It would
               help if the wire went out today. I need to have it out by noon
               tomorrow.

(Defendant’s Exhibit 6AA.)

It is not clear whether Defendant actually sent money in response to these emails.

        On June 8, 2008, the following email exchange was initiated by Defendant to

Plaintiff:

               Have an opportunity with my brother in law to put $$$ to
               work at annualized 20% return in 3 month increments
               ($100,000 yields $5000 every 3 months). Money stays in
               account. Program begins this Friday and runs thru Sept 13,
               2008. You have ability to opt out every 3 months if you
               require your dollars for another use or renew for another 3
               months. We are going to do this on our end. Let me know if
               you want to tag along and if so, for what amount.

Plaintiff replied:

               Is the investment secured?


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Defendant responded:

              Has a T-note and insurance bond behind it. I like what is
              here.

Plaintiff responded:

              If I do a couple hundred thousand, using the credit line, I
              think I will regret based upon anything else that may come
              along?

Defendant responded:

              I like that it is in essence a 90 day deal. Have option to
              renew at end of 90 or takes your $$ back. Your call. No
              obligation.

Plaintiff responded:

              Feel confident enough in security that I would do 300k?
              That is what I am likely to do if so. Are you going big?

Defendant responded:

              I have funds to do $250,000 which yields $12,500 per 90
              days. $300,000 would yield $15,000 per 90 days.

Plaintiff responded:

              . . . Tell me how/when to handle the money.

Defendant responded:

              . . . Send monies to me and I will forward to Chris. Going to
              do this under one account. I will 1099 you at end of year.
              Account instructions are attached.

(Defendant’s Exhibit 6BB.)

       On June 10, 2008, Plaintiff wired $300,000 to Defendant’s LRT account.

(Defendant’s Exhibit 6CC.)

       Defendant did not send the $300,000 received from Plaintiff to his brother in law


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Chris Peganus. Instead, Defendant sent it to a bank account at Comerica Bank in the

name of Thomas Beer. (Defendant’s Exhibit 6CC; Tosto dep., Defendant’s Exhibit 6AA,

p. 158.)

       On June 11, 2008, Thomas Beer sent Defendant the following email:

               Subject: WIRE
               Wire has hit.
               Start Date: 6-11-08
               End Date: 9-11-08
               300k @ 65% / 12 + $16250 per month
               $16,250 * 3 Months = $48,750 Paid on September 11th

(Plaintiff’s Exhibit 6, Part 10, Exhibit 6JJ.)

       On June 12, 2008, Thomas Beer sent Defendant the following email:

               If you have additional money to work, the oil bond is
               unlimited and renews every 3 months. We will have to work
               the investors money 1st. 65 percent return in cash is tough
               to beat. He just confirmed that he can work millions.

(Plaintiff’s Exhibit 6, Part 11, Exhibit 6KK.)

       In mid September, 2008, Thomas Beer became aware that there was not going

to be a distribution on the “oil bond.” Mr Beer stated in his deposition with regard to the

“oil bond” investment:

               Well, after - -so essentially everything was fine until about
               Labor Day, and that’s when the $300,000 was scheduled to
               hit. No one got paid, I knew other investors that were
               involved in this. No one got paid and Mike kind of went into
               hiding. And I had a meeting with Mike Winans and I said
               you’ve got to get me some money because my investors are
               not gonna be happy and he got me $140,000, and of that, I
               gave Len $120,000.

(Beer dep., Plaintiff’s Exhibit 6, Part 7, Exhibit 6N, p. 108.)

       On September 18, 2008, Defendant sent Plaintiff the following email:


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              Hi Paul:
              I have asked Laker Group for a summary of those paying
              and those not paying on the loans.

              The 90 day deal $$$ is being forwarded my way. I will have
              this weekend.

              The renewal automatically took place. Needed 30 day
              notice. Principal monies come due in December and all $$$
              returned at that time.

(Plaintiff’s Exhibit 6, Part 11, Exhibit 6QQ.)

        On October 1, 2008, Defendant sent Plaintiff a cashier’s check for $15,000.00,

funds which allegedly represented 90 days worth of interest on the $300,000 investment

made in June 2008. (Plaintiff’s Exhibit 6, Part 11, Exhibit 6UU.) The $15,000.00

payment was not a dividend from the oil bond - it was money withdrawn from

Defendant’s personal account. (Tosto dep., Defendant’s Exhibit 6A at 156.)

        At some point between September and November, 2008, Thomas Beer advised

Defendant that the “oil bond” investment had been a ponzi scheme orchestrated by

Mike Winans. (Plaintiff’s Exhibit 6, Part 11, Exhibit 6OO - Tosto memo to Tosto’s father,

paragraph regarding “Bucket 2"; Beer Dep., Plaintiff’s Exhibit 6, Part 7, Exhibit N at 114,

115.)

        On December 2, 2008, Plaintiff contacted Defendant by email:

              Can you let me know on what days the two loans will be paid
              (300k and 80k). Will they go directly against my credit line
              on [sic] come as a check to me? Pls remember to
              encourage Al to avoid all being characterized as interest
              income this year.

(Plaintiff’s Exhibit 6, Part 11, Exhibit 6VV.) Defendant never replied to Plaintiff.

        On December 15, 2008, Plaintiff sent Thomas Beer the following email:


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               Subject: Investments
               I just left a voicemail for you Tom, as I am sure you know. I
               am headed to the police department in order to discuss this
               matter with a detective, as I was made aware only an hour
               ago.

               For now, you might consider cooperating to whatever extent
               you can. I will need a copy of all documents relating to the
               “crude oil bond” investment.

(Plaintiff’s Exhibit 6, Part 11, Exhibit 6WW.) Plaintiff was never paid back any of his

principal investment of $300,000.

       On December 3, 2009, Defendant filed a voluntary petition under Chapter 7 of

the Bankruptcy Code. Plaintiff is listed on Defendant’s Schedule F as an unsecured

creditor. The debt is listed as business debt and the amount is listed as both “disputed

and unknown.”

       On March 16, 2010, Plaintiff filed an adversary complaint alleging that Defendant

has a non-dischargeable obligation to Plaintiff in an unknown amount. The complaint

seeks any judgment obtained to be held non-dischargeable pursuant to 11 U.S.C.

§ 523(a)(2), (4) and (6). On February 25, 2011, Plaintiff filed a Motion for Summary

Judgment. While Plaintiff alleges non-dischargeability or seeks a non-dischargeable

judgment under 11 U.S.C. § 523(a)(2), (4) and (6), the general argument in the Motion

for Summary Judgment is that Defendant made material misrepresentations to Plaintiff,

that the misrepresentations were made with the intent to defraud Plaintiff, and that

Plaintiff has suffered significantly as a result of Plaintiff’s conduct..

       On March 31, 2011, Defendant filed a Response to Plaintiff’s Motion for

Summary Judgment. Defendant’s general argument is that Defendant and Plaintiff

were co-investors and as such, Defendant never intended to defraud Plaintiff.

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Defendant argues that he was trying to make money for both Plaintiff and Defendant.

Defendant further argues that Plaintiff never exercised any diligence in investigating the

investments proposed by Defendant, and that the damages suffered by Plaintiff resulted

from Plaintiff’s lack of due diligence and circumstances beyond Defendant’s control.

                                              II.

                                     JURISDICTION

       Bankruptcy courts have jurisdiction over all cases under Title 11 and all core

proceedings arising under Title 11 or arising in a case under Title 11. See 28 U.S.C. §§

1334 and 157. Core proceedings include proceedings to determine dischargeability. 28

U.S.C. § 157(b)(2)(I).

                                              III.

                         STANDARD FOR SUMMARY JUDGMENT

       Fed. R. Civ. P. 56(c) for summary judgment is incorporated into Fed. R. Bankr. P.

7056(c). Summary judgment is only appropriate when there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law. Fed.

R. Civ. P. 56(c). The central inquiry is "whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party

must prevail as a matter of law." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52

(1986). After adequate time for discovery and upon motion, Rule 56(c) mandates

summary judgment against a party who fails to establish the existence of an element

essential to that party's case and on which that party bears the burden of proof at trial.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

       The movant has an initial burden of showing "the absence of a genuine issue of

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material fact." Celotex, 477 U.S. 317, 323. A “genuine” issue is one where no

reasonable fact finder could return a judgment in favor of the non-moving party.

Berryman v. Rieger, 150 F.3d 561, 566 (6th Cir. 1998) (citing Anderson, 477 U.S. at

248). Once the movant meets this burden, the non-movant “must do more than simply

show that there is some metaphysical doubt as to the material facts. If the record taken

in its entirety could not convince a rational trier of fact to return a verdict in favor of the

non-moving party, the motion should be granted.” Cox v. Kentucky Dept. of

Transportation, 53 F.3d 146, 149-50 (6th Cir. 1995) (internal quotation marks and

citation omitted).

       The Court may sua sponte grant summary judgment to the non-moving party if

that party is entitled to judgment as a matter of law. K.E. Resources, Ltd. v. BMO

Financial, Inc. (In re Century Offshore Mgt. Corp.), 119 F.3d 409, 412 (6th Cir. 1997).

                                               IV.

                                          ANALYSIS

A.     11 U.S.C. § 523(a)(2)(A): Non-Dischargeability Based on Fraud

       Section 523 (a)(2)(A) excepts from discharge any debt “for money, property, [or]

services . . . to the extent obtained by false pretenses, a false representation, or actual

fraud. . . “ To prevail on a claim under this section, a plaintiff must show that:

              (1) [T]he debtor obtained money through a material
              misrepresentation that at the time the debtor knew was false
              or that he made with reckless disregard for the truth; (2)
              the debtor intended to deceive; (3) the creditor justifiably
              relied on the false representation; and (4) its reliance was
              the proximate cause of loss.

Rembert v. AT&T Universal Card Services, Inc. ( In re Rembert), 141 F.3d 277, 280 (6th


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Cir. 1998)(emphasis added). See also Digital Commerce Ltd. v. Sullivan (In re

Sullivan), 305 B.R. 809, 823 (W.D. Mich. 2004).

       The purpose of section 523(a)(2) is to prevent debtors from retaining the benefits

of property obtained through fraud. XL/Datacomp, Inc. v. Wilson (In re Omegas Group,

Inc.), 16 F.3d 1443, 1451 (6th Cir. 1994). Plaintiff must show each element by a

preponderance of the evidence. Rembert, 141 F.3d at 281.

       While openly false assertions plainly qualify as misrepresentations, “it is well-

established that ‘material omissions can [also] form the basis of misrepresentation

under § 523(a)(2)(A).” Sullivan, 305 B.R. at 823, quoting McHenry v. Ward (In re

Ward), 115 B.R. 532, 539 (W.D. Mich. 1990). Even where a party fails to prove the

standard traditional elements of misrepresentational fraud, the Sixth Circuit has broadly

construed fraud in the context of § 523 (a)(2)(A).

              Fraud is a generic term, which embraces all the multifarious
              means which human ingenuity can devise and which are
              resorted to by one individual to gain an advantage over
              another by false suggestions or by suppression of the truth.
              No definite and invariable rule can be laid down as a general
              proposition defining fraud, and it includes all surprise, trick,
              cunning, dissembling, and any unfair way by which another
              is cheated.

Sullivan, 305 B.R. at 824, quoting McClellan v. Cantrell, 217 F.3d 890, 893 (7th Cir.,

2000). See also Mellon Bank v. Vitanovich (In re Vitanovich), 259 B.R. 873 (6th Cir.

BAP 2001).

       Intent, under In re Rembert, is measured subjectively. 141 F.3d at 281. A debtor

intends to deceive a creditor “when the debtor makes a false representation which the

debtor knows or should have known would induce another to advance goods or


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services to the debtor.” Bernard Lumber Co. v. Patrick (In re Patrick), 265 B.R. 913,

916 (Bankr. N.D. Ohio 2001). Fraudulent intent requires an actual intent to mislead,

which is more than mere negligence. . . A ‘dumb but honest’ [debtor] does not satisfy

the test.” Palmacci v. Umpierrez, 121 F.3d 781, 788 (1st Cir., 1997)(citations omitted).

A debtor’s fraudulent intent,

              may be inferred from the totality of the circumstances. The
              bankruptcy court must consider whether the totality of the
              circumstances’ presents a picture of deceptive conduct by
              the debtor which indicates an intent to deceive the creditor.’
              The court may consider not only the debtor’s conduct at the
              time of the representations, but may consider subsequent
              conduct, to the extent that it provides an indication of the
              debtor’s state of mind at the time of the actionable
              representations.

Wolf v. McGuire (In re McGuire), 284 B.R. 481, 492 (Bankr. D. Co. 2002)(quoting

Groetken v. Davis (In re Davis), 246 B.R. 646, 652 (10th Cir. BAP 2000) aff’d in part and

vacated in part by Groetken v. Davis (In re Davis), 35 Fed. Appx. 826 (10th Cir.

2002)(citations omitted). “A creditor can present proof of surrounding circumstances

from which a [c]ourt can infer a dishonest intent.” Commercial Bank and Trust v. McCoy

(In re McCoy), 269 B.R. 193, 199 (Bankr. W.D. Tenn. 2001).

       As explained by the court in Haney v. Copeland (In re Copeland), 291 B.R. 740

(Bankr. E.D. Tenn. 2003):

              Proving the Debtor’s intent to defraud is similar to proving
              the Debtor’s knowledge and/or recklessness as to the falsity
              of the representations made. Because intent is a purely
              subjective question, the court must examine the totality of
              the Debtor’s actions to determine if she possessed the
              requisite intent to deceive the Plaintiffs. Any benefit of the
              doubt must be resolved in favor of the Debtor, as § 523(a)(2)
              is strictly construed in her favor. XL/Datacomp, Inc. v.
              Wilson (in re Omegas Group, Inc.), 16 F.3d 1443, 1452 (6th

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              Cir. 1994).

Haney v. Copeland (In re Copeland), 291 B.R. 740, 760 (Bankr. E.D. Tenn. 2003).

       Once a creditor demonstrates that the debtor intended to deceive the creditor,

the creditor must show that the creditor relied on the false representations and that the

creditors’ loss is a direct result of the misrepresentations.

       In this case, this Court distinguishes between Defendant’s conduct with regard to

Investments I, II and III and Defendant’s conduct with regard to Investment IV. The

Court will refer to Investments I, II and III as the Real Estate Investments. With regard

to the Real Estate Investments, Plaintiff alleges that Defendant made multiple

misrepresentations. Specifically, Plaintiff asserts that Defendant misrepresented the

quality of the investments, the rate of return that could be generated from the

investments, and the identity and credit worthiness of the borrowers/purchasers of the

various homes. In order to prevail on a non-dischargeable fraud claim, however, the

creditor must not only show that misrepresentations were made but that the debtor

knew that those representations were false at the time he made them. The record in

this case indicates that much of what Defendant represented to Plaintiff had been true

in the pre-2008 real estate market. Prior to 2007, Defendant had invested profitably in

investments similar to those he recommended to Plaintiff. After Plaintiff and Defendant

made Investments I, II and III, some of the individual sales within each investment

generated a profit. The record viewed as a whole demonstrates that to the extent

Defendant made misrepresentations, Defendant believed his representations to be true.

It is only with the benefit of hindsight that some of the statements made by Defendant

turned out to be inaccurate.

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       Plaintiff also argues that Defendant misrepresented his role in the real estate

investments. Plaintiff alleges that he believed Defendant was acting in his capacity as a

real estate broker for Colliers International when Defendant proposed the real estate

investments to Plaintiff. Plaintiff further argues that he would not have invested in the

real estate investments had Plaintiff known that Defendant was proposing the real

estate investments in his capacity as a friend and part owner of T&T. There is nothing

in the record to support Plaintiff’s alleged belief that Defendant was acting as a Collier’s

employee in proposing the real estate investments. (Plaintiff’s Exhibit 6, Part 2, May 22,

2007 email from Defendant to Plaintiff.) This issue was never raised in either Plaintiff’s

or Defendant’s deposition and Plaintiff’s argument that Defendant misrepresented the

role of Collier’s International in the proposed investments is completely unsubstantiated

by the record.

       Plaintiff also fails to show that the Defendant intended to deceive him. With

regard to the Real Estate Investments, Defendant, using funds from the business that

he operated with his father, T&T, invested almost dollar for dollar in the same

investments Defendant proposed to Plaintiff. The record clearly demonstrates that

Plaintiff and Defendant, through T&T, both put money into the investments and

Defendant anticipated that they would profit equally. Defendant may have been overly

optimistic about the return on the investment, but he was deluding himself and Plaintiff

in equal measure. There is no evidence in the record to support the allegation that

Defendant intended to deceive Plaintiff. Furthermore, Plaintiff’s investment did not

result in personal gain for Defendant. As Defendant points out, the majority of the

money which Plaintiff invested in Investments I, II and III, was paid either directly to title

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insurance companies, or was paid to T&T and then immediately paid over to another

third party unrelated to Defendant. Defendant not only failed to receive any benefit from

Plaintiff’s investment in the Real Estate Investments, Defendant lost as much or more in

the exact same investments.

       Plaintiff’s reliance on Mellon Bank v. Vitanovich (In re Vitanovich, 259 B.R. 873

(6th Cir. BAP 2001) to support his fraud argument, is misplaced. Plaintiff is correct in

arguing that the Sixth Circuit has defined fraud broadly. However, even a broad

definition of fraud requires that the debtor have intended to deceive the creditor.

“Actual fraud has been defined as intentional fraud, consisting in deception intentionally

practiced to induce another to part with property or to surrender some legal right, and

which accomplishes the end design. It requires intent to deceive or defraud.” In re

Vitanovich, 259 B.R. at 877, quoting Gerad v. Cole (In re Cole), 164 B.R. 951 (Bankr.

N.D. Ohio 1993). In In re Vitanovich, the debtor had engaged in a check kiting scheme

through the use of multiple bank accounts. The debtor would overdraft one account and

cover the overdraft with an overdraft from another bank account. The debtor knew he

had insufficient funds in the various bank accounts to cover the overdrafts and was

deceiving the banks by covering up one overdraft with another overdraft. On these

facts, the Sixth Circuit found that while debtor had not made a direct misrepresentation

to any bank, debtor was liable for fraud under 11 U.S.C. § 523(a)(2) because his

conduct demonstrated an intention to deceive the banks.

       The Vitanovich case is inapplicable to the facts of the instant case. As noted

above, with regard to Investments I, II and III, Defendant never took Plaintiff’s money for

his own use, rather he directed Plaintiff’s money into the same investments in which

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Defendant was also investing. On these facts, Plaintiff cannot establish that Defendant

had any intent to deceive Plaintiff.

       Plaintiff also argues that Defendant relied on the statements made by Plaintiff

about the quality of the investments and the rate of return. Plaintiff asserts that it was

Defendant’s responsibility to insure that the investment would be profitable. Plaintiff’s

argument fails for two reasons. First, the deposition and email record in this case

establish that Defendant made it clear to Plaintiff that Defendant was relying on the

Laker Group, One Nation and Craig Covert to finance, buy, sell, and repair the

properties. Defendant’s role was to raise money from investors, including himself and

funnel that money to the Laker Group, One Nation and Craig Covert. Second, the

deposition and email record establishes that while Plaintiff asked questions about the

nature of the investments, Plaintiff continued to invest money even though he failed to

obtain complete answers to his questions. In other words, Defendant’s alleged lack of

due diligence did not prevent Plaintiff from continuing to invest in the opportunities

proposed by Defendant.

       Lastly, Plaintiff cannot show that Defendant’s misrepresentations are the cause

of Plaintiff’s losses in Investments I, II and III. Plaintiff’s records indicate that Plaintiff

made a profit on some of the individual properties in Investments I, II and III. Plaintiff’s

losses in Investments I and II resulted directly from the Laker Group’s inability to sell the

houses which made up the investment. It is well established that the real estate market

crashed nationwide in 2008 and the entire country went into a recession. It is also fair

to say that real estate investment was a booming business between 2000 and 2007,

due to a seemingly endless appreciation in real estate and the availability of easy credit.

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Both Plaintiff and Defendant were seduced by the money to be made in the real estate

market, and both were damaged when the real estate market crashed. Plaintiff’s

damages in Investment I and II resulted from circumstances beyond the control of

Defendant. With regard to Investment III, Craig Covert represented to Defendant that

he could easily market two properties because the buyers would be eligible as senior

citizens for easy financing through reverse mortgages. Defendant passed these

representations on to Plaintiff and Plaintiff invested in the two properties. Covert sold

one property but was unable to sell the other, either because the financing was not

quite as easy as he had represented, or because of other misrepresentations made by

Craig Covert. In any case, Plaintiff and Defendant’s losses in Investment III, resulted

directly from Covert’s inability to sell one of the houses in which Plaintiff had invested.

Plaintiff’s losses were not the result of statements made by Defendant.

       Plaintiff cannot present any set of facts which could establish that he is entitled to

a non-dischargeable judgment pursuant to 11 U.S.C. § 523(a)(2)(A) for losses incurred

as a result of his Real Estate Investments I, II and III.

       The Court concludes however, that there are questions of fact with regard to

whether Plaintiff has a non-dischargeable claim against Defendant for fraud for the

monies invested in Investment IV. There is a distinction between misrepresentations

allegedly made by Defendant with Investments I through III and his representations

about Investment IV. The distinction is that with regard to Investment I, II and III,

Defendant’s representations were either true at the time he made them, or made

without any knowledge that his statements were false. With Investment IV, however,

Defendant’s representations were false at the time he made them and Defendant knew

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the representations were false. Specifically: (1) Defendant misrepresented to whom

the investment money would be sent. Defendant explicitly represented that any funds

invested by Plaintiff would be sent to Defendant’s brother-in-law, Chris Peganus.

Defendant knew at the time he sought investment founds from Plaintiff that he intended

to send the funds to Thomas Beer, not Chris Peganus.2 (Tosto dep., Defendant’s

Exhibit 6A at 131-140.); (2) Defendant falsely stated that the investment was secured.

In response to Plaintiff’s question “is the investment secured?”, Defendant responded,

“Has a T-note and insurance bond behind it. I like what is here.” (Defendant’s Exhibit

6BB.) There is nothing in the voluminous record to support Defendant’s statement; (3)

Defendant misrepresented to Plaintiff that he was investing funds contemporaneously

with Plaintiff. Plaintiff emailed Defendant: “Feel confident enough in the security that I

would do 300k? That is what I am likely to do if so. Are you going big?” Defendant

responded: “I have funds to do $250,000 which yields $12,500 per 90 days. $300,000

would yield $15,000 per 90 days.” (Defendant’s Exhibit 6BB.) In fact, the record shows

that Defendant forwarded Plaintiff’s $300,000 directly to Thomas Beer without

contributing any additional funds to the “oil bond” investment. While Defendant had

previously invested approximately $170,000 in the investment, those amounts were

paid by Defendant to Thomas Beer at least a month prior to the investment by Plaintiff.

        It is clear that Defendant knowingly made misrepresentations to induce

Defendant to invest in Investment IV. The fact question is whether Defendant made the

misrepresentations with the intent to defraud Plaintiff. Defendant argues that he had no


        2
         Prior to June, 2008, Plaintiff had made it clear to Defendant that Plaintiff did not want to invest in
any investment connected with Thomas Beer.

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intention to defraud Plaintiff, that his sole goal in proposing this investment to Plaintiff

was to help Plaintiff make money. (Tosto Affidavit, Defendant’s Exhibit 5.) Defendant

argues that his lack of intent to defraud is substantiated by the fact that Defendant did

not retain the $300,000 invested by Plaintiff. The record clearly shows that Plaintiff

wired his investment to LRT Investments, and Defendant immediately instructed LRT

Investments to forward the funds to Thomas Beer. (Defendant’s Exhibit 6CC.)

        While Defendant is correct that Plaintiff’s investment was immediately forwarded

to Thomas Beer, the record is much less clear as to what motivated Defendant to

propose this investment to Plaintiff. Defendants rarely admit to an intent to defraud,

therefore the Court must consider all the circumstances of the case to determine

whether Defendant’s intention was fraudulent. The parties’ conduct in this case raises

the following questions: (1) Why did Defendant knowingly make false statements to

Plaintiff regarding Investment IV? (2) Did Defendant make false statements because he

knew that without such misrepresentations, Plaintiff would not invest? (3) Why did

Defendant decide not to invest any additional funds himself? (4) What were

Defendant’s financial circumstances at that time? The record demonstrates that by mid-

2008 Defendant had lost money in his various real estate investments.3 Was Defendant

hoping to use some of the anticipated profit on Plaintiff’s $300,000 investment as a

short term loan to himself to buy himself some time?4

        3
         Defendant made his investments through T&T, the company he owned with his father. Many of
the investments made by Defendant with T&T funds were made without the knowledge or consent of his
father. (Plaintiff’s Exhibit 6, Part 11, Exhibit 6OO.)
        4
           With prior investments, the record shows that Defendant occasionally invested less than what
was represented to Plaintiff, or Defendant repaid the Plaintiff slightly less than Plaintiff’s share. Defendant
testified that it was always his intention to make up any difference in the amount invested, or the profit

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        There are also questions about Plaintiff’s conduct with regard to Investment IV.

Specifically: (1) why did Plaintiff rely on Defendant’s statements without any

corroborating information? (2) Was Plaintiff justified in relying on representations from

Defendant, given that Plaintiff is an experienced attorney and certified public

accountant?

        Both parties in this case have presented an enormous number of documents to

the Court in the form of depositions, emails (in most cases both sides have provided the

same emails to argue different points), and spread sheets. Unfortunately all these

documents are insufficient to resolve the issue of intent. Ultimately, in a case such as

this, the resolution of the question of intent turns on the credibility of the parties. The

issue of whether Defendant is liable to Plaintiff under 11 U.S.C. § 523(a)(2) for money

Plaintiff lost in Investment IV remains for trial.

B.      11 U.S.C. § 523(a)(4): Nondischargeability Based on Breach of Fiduciary Duty
        or Embezzlement.

        Plaintiff also alleges that the money he lost in Investments I - IV should be a non-

dischargeable obligation of Defendant pursuant to 11 U.S.C. § 523(a)(4). Under 11

U.S.C. § 523(a)(4) a debtor is not discharged from any debt “for fraud or defalcation

while acting in a fiduciary capacity, embezzlement, or larceny.”

        The Sixth Circuit has defined the term “fiduciary capacity” as used in § 523(a)(4)

narrowly, holding that the term applies only to express or technical trust relationships,

where a specific property is placed in the hand of the debtor as trustee. R.E. America v.

Garver (In re Garver), 116 F.3d 176, 179 (6th Cir. 1997). In other words, the term


repaid, from the proceeds of a subsequent sale.

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“fiduciary” as used in §523(a)(4) does not apply to implied trusts. Garver 116 F.3d at

178-79. “There are four requirements for establishing the existence of an express or

technical trust: (1) an intent to create a trust; (2) a trustee; (3) a trust res; and (4) a

definite beneficiary.” Graffice v. Grim (In re Grim), 293 B.R. 156, 166 (Bankr. N.D. Ohio

2003).

         “[T]he defalcation provision of § 523(a)(4) is limited to only those situations

involving an express or technical trust relationship. Defalcation then occurs through the

misappropriation or failure to properly account for those trust funds.” Garver, 116 F.3d

at 180 (citations omitted). Defalcation encompasses “embezzlement, the

‘misappropriation of trust funds held in any fiduciary capacity,’ and the ‘failure to

properly account for such funds.’” Capitol Indemnity Corp. v. Interstate Agency, Inc. (In

re Interstate Agency), 760 F.2d 121, 125 (6th Cir. 1985)(citations omitted).

         Embezzlement is defined as “the fraudulent appropriation of property by a person

to whom such property has been entrusted or into whose hands it has lawfully come.”

Gribble v. Carlton (In re Carlton), 26 B.R. 202, 205 (Bankr. M.D. Tenn. 1982)(quoting

Moore v. United States, 160 U.S. 268, 269 (1895). “A creditor proves embezzlement by

showing that he entrusted his property to the debtor, the debtor appropriated the

property for a use other than that for which it was entrusted, and the circumstances

indicated fraud.” Davis v. Kindrick (In re Kindrick), 213 B.R. 504, 508 (Bankr. N.D. Ohio

1997). Embezzlement is commonly understood to occur when a person has legitimate

access to funds, and then uses those funds for an illegitimate purpose, for example a

bank teller siphons off money from the bank till, or a school treasurer uses the school

supplies fund for a trip to Jamaica.

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         In the instant case, Plaintiff alleges that with respect to Investment IV

Defendant’s debt to Plaintiff is non-dischargeable because Defendant embezzled the

funds.

         The Court finds that none of the funds invested by Plaintiff were embezzled by

Defendant. First, Plaintiff never gave his money to Defendant with regard to Investment

IV. On June 10, 2008, Plaintiff wired $300,000 to LRT Investments. The money was

immediately forwarded to Thomas Beer. While LRT Investments was owned by

Defendant, LRT Investments was merely a conduit to transfer the funds to a third party

for investment purposes. Since Defendant did not retain possession of Plaintiff’s funds,

Defendant could not appropriate the property for a use other than that for which it was

entrusted. It is undisputed that Defendant made a misrepresentation about the identity

of the third party, but it is also undisputed that Defendant did not retain possession of

the money. The party that arguably committed embezzlement in this case is Mike

Winans, the originator of the Ponzi scheme. He appropriated Plaintiff’s property, by way

of Defendant and Thomas Beer, for a purpose other than the one for which it was

entrusted. The Court finds that Plaintiff lost $300,000.00 in Investment IV not because

it was embezzled by Defendant, but because of the fraud perpetrated by Mike Winans.

         In conclusion, the Court finds that there are no questions of fact with regards to

whether Defendant embezzled funds from Plaintiff. None of the funds invested by

Plaintiff were embezzled. Plaintiff’s claims arising out of 11 U.S.C. § 523(a)(4) are

dismissed.

C.       11 U.S.C. § 523(a)(6): Nondischargeability Based On Willful and Malicious
         Conduct.


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       With respect to Investment IV, Plaintiff alleges that Defendant’s debt to Plaintiff is

non-dischargeable pursuant to 11 U.S.C. § 523(a)(6). That section provides:

                     (a) A discharge under section 727, 1141, 1228(a),
              1228(b), or 1328(b) of this title does not discharge an
              individual debtor from any debt -
                            (6) for willful and malicious injury by the debtor
                     to another entity or to the property of another entity.

Because the word “willful” modifies the word “injury,” “nondischargeability takes a

deliberate or intentional injury, not merely a deliberate or intentional act that leads to

injury.” Kawaauhau v. Geiger, 523 U.S. 57, 61, 118 S.Ct. 974, 140 L.Ed.2d 90 (1998).

A willful injury results when the actor either desires to cause the consequences of his

actions or “believes that the consequences are substantially certain to result” from his

actions. Markowitz v. Campbell (In re Markowitz), 190 F.3d 455, 464 (6th Cir. 1999)

(internal quotation marks omitted). A debtor “must will or desire harm, or believe injury

is substantially to occur as a result of his behavior. Id, at 465 n. 10.

       A person has acted “maliciously” when that person acts “in conscious disregard

of his duties or without just cause or excuse.” Gonzalez v. Moffitt (In re Moffitt), 252

B.R. 916, 923 (6th Cir. BAP 2000); Murray v. Wilcox (In re Wilcox), 229 B.R. 411, 419

(Bankr. N.D. Ohio 1998). There is no requirement that the person act with ill will, spite

or animosity toward the injured party. Grange Mut, Cas. Co. v. Chapman (In re

Chapman), 228 B.R. 899, 909 (Bankr. N.D. Ohio 1998).

       An act of conversion if willful and malicious, is an injury to property within the

scope of this exception. Morganroth & Morganroth, PLLC v. Stollman (In re Stollman),

404 B.R. 244, 262 (Bankr. E.D. Mich 2009), quoting Davis v. Aetna Acceptance Co.,

293 U.S. 328, 332 (1934). “Conversion is defined as any distinct act of dominion

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wrongfully exerted over another’s personal property in denial of or inconsistent with the

rights therein.” Id at 263, (internal quotations omitted).

       Plaintiff argues that Defendant is liable for conversion of the $300,000 paid by

Plaintiff into Investment IV. The Court disagrees. Again, Defendant did not exercise

dominion or control over the $300,000. While Defendant did induce Plaintiff to invest

the $300,000 in a scheme which turned out to be a sham, there is no dispute that the

Defendant did not retain possession of the funds. Plaintiff wired the money to LRT,

Defendant immediately directed that the money be forwarded to Thomas Beer. While it

is true that Defendant misrepresented the identity of the third party to whom the funds

were wired, that single act does not constitute “dominion and control” for purposes of a

conversion claim. In order for there to be a conversion claim the dominion and control

of another’s property has to inure to the benefit of the party exercising dominion and

control. In other words, the party charged with conversion has to be converting the

property for his own benefit. While Defendant may have hoped to benefit from the

eventual return on Plaintiff’s investment, Defendant did not convert any of Plaintiff’s

$300,000.00 to his own use at the time the money was invested.

       There is however, a separate issue as to whether Defendant converted funds

intended for Plaintiff after Plaintiff’s initial investment. At his deposition, Thomas Beer

was asked about whether Defendant had ever received a return on his investment in the

“oil bond.” Mr. Beers testified as follows:

              Q.     Do you know how much money he got back?
              A.     About $350,00.
              Q.     He did get back?
              A.     Yes
              Q.     Do you know when he got that back?

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              A.     Between June - probably between June, ‘08
                     and September, ‘08.
              Q.     And he would be paid in cash?
              A.     Yes.
              Q.     And did you deliver the cash or - -
              A.     I delivered the cash.
              Q.     Because all of the cash would come to you - -
              A.     Uh-huh.
              Q.     - - because you were the investor?
              A.     I delivered the cash.
              Q.     And do you know if he was getting the 65 percent return?
              A.     He was, and more.
              Q.     More than 65 percent?
              A.     Yes.
              Q.     What was the highest it went up to, do you know?
              A.     Well, after - -so essentially everything was fine until
                     about Labor Day, and that’s when the $300,000 was
                     scheduled to hit. No one got paid, I knew other
                     investors that were involved in this. No one got paid
                     and Mike kind of went into hiding. And I had a
                     meeting with Mike Winans and I said you’ve got to get
                     me some money because my investors are not gonna
                     be happy and he got me $140,000, and of that, I gave
                     Len $120,000.
              Q.     And when was that about?
              A.     I want to say middle of September. It might have
                     been in October. Middle of September, October.
              Q.     And would you have given Len $120,000 based upon
                     his $620,000 investment?
              A.     I gave Len $120,000 because he had most of the
                     money that was in it.
              Q.     Yes. But I mean, it was based on his whole
                     investment of $620,000?
              A.     Yes.
              Q.     Because you did not know where it all came from?
              A.     No, no, no, no. There was just - - as far as I knew, it
                     was Len’s money. I didn’t know at that time that - - I
                     don’t believe I knew at that time that it was Paul’s
                     money. I’m almost positive I didn’t .


(Beer dep., Plaintiff’s Exhibit 6, Part 7, Exhibit 6N at 107-109.)

       Defendant’s deposition testimony directly contradicts the testimony of Thomas


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Beer. At his deposition Defendant testified:

             Q.     Did you ever receive any cash from Mike Winans or
                    the Winans Foundation Trust?
             A.     No.
             Q.     You never received any money in way of distribution
                    or a dividend or anything like that?
             A.     No.
             ...
             Q.     Do you recall receiving $19,500.00 cash from Mr.
                    Beer in August of 2008?
             A.     I do not.
             Q.     Did you ever receive any cash payment of any
                    type from Mr. Beer at any time?
             A.     I don’t remember any cash.
             Q.     Our records show that as of August 9, 2008, your
                    $120,000.00 investment was up for renewal with the
                    Winans. What did you do with it at that time, that
                    investment in August of 2008?
             A.     I don’t even know what we would do with that
                    investment?
             Q.     Did you get paid back?
             A.     No. No.
             Q.     Did you roll it for another period of time? Did you get
                    paid some interest?
             A.     The longest - - I don’t remember.
             Q.     We also show that your $50,000.00 investment would
                    be up for renewal on September 2008. Did you get
                    paid any interest at that time?
             A.     I don’t remember.
             Q.     When you say you don’t remember, could you have
                    been paid interest and you just don’t recall?
             A.     I don’t think so.
             Q.     You don’t think so what?
             A.     I don’t think I got paid.


(Tosto dep., Defendant’s Exhibit 6 at. 146 -148.)

      Based on the deposition testimony set forth above, there is a question of fact as

to whether Defendant received any repayment of funds invested in the Ponzi scheme.

If in fact Defendant received funds in September of 2008, as Thomas Beer testified,


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those funds were in part, Plaintiff’s money. If in fact Defendant retained a distribution

that should have been paid to Plaintiff, Defendant is liable for conversion of those funds.

However, if Defendant’s testimony is credible, that is that he never received any

distribution, or did not receive a distribution attributable to Plaintiff’s investment, then

Defendant is not liable to Plaintiff for conversion. Because there is a question of fact on

this issue, the issue of whether Defendant ever received a return on his investment in

the Ponzi scheme, and the timing and the amount of that return, are issues which

remain for trial.

D.     Attorney Fees and Treble Damages.

       Plaintiff argues in his Motion for Summary Judgment that as part of his claim for

non-dischargeability he is entitled to attorney fees and treble damages on his

conversion claim. The Court will defer ruling on this issue until it is determined whether

Plaintiff has a non-dischargeable claim for conversion against Defendant.

E.     Plaintiff’s Standing as a Contingent Creditor.

       Defendant argues that Plaintiff does not have standing to bring this adversary

proceeding because Plaintiff does not have a claim against Defendant. According to

Defendant, “Section 101(5) which defines ‘claim,’ begins with a ‘right to payment...’

there is no right to payment here. Plaintiff gave no money to Len Tosto, there is no

agreement evidencing a debt or agreement by Len Tosto to pay Plaintiff, and Plaintiff

was aware that he was making investments (i.e., not loans) to third parties. Plaintiff

alleges no facts to the contrary, therefore; there is no right to payment.” (Defendant’s

Objection to Plaintiff’s Reply Brief at 13).

       The Court disagrees. 11 U.S.C. § 101(5)(a) defines a claim as follows:

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                     (A)    right to payment, whether or not such right is
              reduced to judgment, liquidated, unliquidated, fixed,
              contingent, matured, unmatured, disputed, undisputed, legal,
              equitable, secured, or unsecured

11 U.S.C. § 101(12) defines debt as “liability on a claim.” The Sixth Circuit has held “by

defining “debt” in terms of “claim”, Congress has made the meanings of debt and claim

coextensive.” See Glance v. Carroll (In re Glance), 487 F.3d 317, 320 (6th Cir. 2007)

(internal quotations omitted).

       In the present case, Plaintiff holds a contingent unliquidated claim against

Defendant. Many claims in bankruptcy are contingent and as such are unliquidated.

Frequently creditors file claims for which debtors deny any liability. In this case,

Plaintiff’s claim is contingent on a finding of non-dischargeability, i.e. that Defendant

made misrepresentations with the intent to deceive Plaintiff and Plaintiff was damaged

as a direct result of those misrepresentations. If Plaintiff proves all the elements of a

fraud claim with regard to Investment IV, Plaintiff has a claim against Defendant.

Similarly, if Defendant retained funds which belonged to Plaintiff, Defendant committed

conversion as to the funds retained by Defendant from Investment IV and Plaintiff has a

claim against Defendant under § 523(a)(6).

       The Court also notes that Defendant listed Plaintiff as a creditor on Schedule F.

The debt is listed as disputed. It is inconsistent for Defendant to list Plaintiff as a

creditor on Schedule F and to simultaneously deny that Plaintiff is a creditor with

standing to bring this adversary proceeding.

                                               V.

                                       CONCLUSION


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       With regard to Investments I, II and III, there is no factual dispute between the

parties. Rather, the parties interpret the facts and reach different conclusions regarding

Defendant’s liability to Plaintiff. For the reasons set forth above, the Court finds that

Defendant has no liability to Plaintiff for money Plaintiff lost in Investments I, II and III.

Plaintiff’s Complaint is dismissed to the extent it seeks damages related to Investments

I, II and III. Furthermore, there are no facts which establish a claim of embezzlement.

Plaintiff’s claims of embezzlement as it relates to Investments I, II, III and IV are

dismissed.

       There remain factual issues for trial with regards to Investment IV. Those issues

are as follows: (1) Were the Defendant’s false statements to Plaintiff with regard to

Investment IV made with the intent to deceive Plaintiff? (2) Even if Defendant made

false representations with an intent to deceive, were the misrepresentations the

proximate cause of Defendant’s damages? (3) Was Plaintiff’s reliance on Defendant’s

statements with regards to Investment IV reasonable? (4) Did Defendant receive a

distribution from the Ponzi scheme? (5) If Defendant received a distribution from the

Ponzi scheme, when was that distribution received, and was that distribution attributable

to funds invested by Plaintiff? (6) If Plaintiff obtains a judgment in any amount against

Defendant, is Plaintiff entitled to attorney fees or treble damages as part of the non-

dischargeable amount?

       The parties shall appear on May 24, 2011 at 9:00 a.m. to discuss all remaining

discovery issues. The Court shall set a trial date at the hearing on May 24, 2011.
                                                .



Signed on May 13, 2011


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